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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:21-cr-00662 (PLF)
        v.                                    :
                                              :
WILLARD JAKE PEART,                           :
                                              :
                 Defendant.                   :

                     GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Willard Jake Peart (“Peart”) to thirty days incarceration, 36 months’ probation, 60

hours of community service, and $500 restitution.

   I.         Introduction

        “I don’t know what would have happened if I had seen Mitt Romney. It’s probably a good

thing that I didn’t see him, because I would have been, who knows, I was definitely, um ya know,

there. I’ve never had that much adrenaline run through my body ever, um so I don’t know, …”

and “I’m glad it ended the way it ended.” This was Willard Jake Peart’s admission to FBI when

asked if he went inside of the Capitol to harm politicians on January 6, 2021.

        The defendant, Willard Jake Peart, a real estate agent and entrepreneur, knowingly and

willfully participated in the January 6, 2021, attack on the United States Capitol – a violent attack

that forced an interruption of the Congressional certification of the 2020 Electoral College vote

count, threatened the peaceful transfer of power after the 2020 Presidential election, injured more




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than one hundred police officers, and resulted in more than 2.7 million dollars in losses . 1 Peart

pled guilty to one count of violating 40 U.S.C. § 5104(e)(2)(G), Parading, Demonstrating, or

Picketing in the Capitol Building. As explained herein, a sentence of fourteen days incarceration

and 36 months’ probation, is appropriate in this case because1) despite learning that the United

States Capitol Building had been breached and knowing that protesters were already inside the

building, Peart went to the Capitol; (2) upon arriving at the Capitol, Peart urinated on a wall near

the south west Capitol Reflecting Pool; (3) before entering the building, Peart observed numerous

signs of lawless conduct by others, including overrun police barricades, the odor of tear gas, broken

doors and windows on the exterior of the Capitol, the sound of blaring sirens, and a crowd of

rioters near the entrance to the Capitol doors who pushed against and ultimately breached a line of

police officers to gain entrance to the Capitol; (4) Peart climbed several scaffolding platforms

erected near the inauguration stage to gain access to an entrance of the building; (5) Peart observed

police officers retreating from the northwest entrance after being overcome by the mob of rioters;

(6) while approaching the entrance to the Capitol, Peart saw another rioter attempting to lift a

wooden board and assisted him before continuing to walk towards the Capitol’s entrance; while

inside of the Capitol, Peart exclaimed at one point, “Where are the senators?”, then chanted the

name of U.S. Senator Mitt Romney; (7) Peart saw rioters who had grabbed pepper spray cannisters

belonging to police officers, spray the officers with pepper spray; (8) Peart repeatedly refused to

leave the Capitol when ordered to do so by police officers who were attempting to remove the




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 As of April 5, 2022, the approximate losses suffered as a result of the siege at the United States
Capitol exceeded 2.7 million dollars. That amount reflects, among other things, damage to the
United States Capitol building and grounds and certain costs borne by the United States Capitol
Police.


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mob of rioters from the building; but (9) Peart turned himself in to the FBI before a warrant was

issued for his arrest and has expressed remorse for his conduct on January 6.

         The Court must also consider that Peart’s conduct on January 6, like the conduct of scores

of other defendants, took place in the context of a large and violent riot that relied on numbers to

overwhelm police officers, breach the Capitol, and disrupt the proceedings. But for his actions

alongside so many others, the riot likely would have failed to delay the certification vote. See

United States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a

mob without the numbers. The people who were committing those violent acts did so because they

had the safety of numbers.”) (statement of Judge Chutkan). Here, Peart’s participation in a riot that

actually succeeded in halting the Congressional certification renders a sentence of thirty days

incarceration, 36 months’ probation, 60 hours of community service, and $500 restitution

appropriate in this case.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid exposition, the government refers to the general summary of the attack on the

Capitol. See ECF 31 (Statement of Offense), at 1-5. As this Court knows, a riot cannot occur

without rioters, and each rioter’s actions – from the most mundane to the most violent –

contributed, directly and indirectly, to the violence and destruction of that day. With that backdrop

we turn to Peart’s conduct and behavior on January 6.

              Willard Jake Peart’s Role in the January 6, 2021 Attack on the Capitol

         Peart, traveled to Washington, D.C. from Utah with friends to hear then-President Donald

J. Trump speak at the January 6, 2021, rally. ECF 32 ¶ 16. He claimed that he believed that the




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2020 presidential election was fraudulent and described himself as passionate about the country

and its freedoms.

       Upon arriving in Washington, D.C., Peart and his friends attended the rally as planned.

After the rally, Peart and his friends walked along Constitution Avenue and Pennsylvania Avenue.

While sightseeing, Peart and his friends learned that rioters had breached the Capitol and were

inside of the building. Peart and his friends then walked to the Capitol.

       In his FBI interview, Peart admitted that upon arriving at the Capitol, he urinated on a

wall near the southwest Capitol Reflecting Pool. While outside the Capitol, Peart observed a

number of metal barricades and a crowd of rioters pushing and breaching police lines.. Despite

that, he and his friends approached the crowds outside of the Capitol near the southwest corner of

the Capitol by the House of Representatives Chamber. Using his cellular telephone, Peart proudly

photographed himself standing outside of the Capitol. See Image A. Peart was attired in a dark

colored jacket, jeans, and beanie cap.




                                                 Image A

       Deciding that he wanted to enter the Capitol, Peart left his friends and began to search for

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a point of entry. He climbed on walls and scaffolding near the inauguration stage in an attempt to

reach the Capitol building, eventually reaching the northwest side of the building.

       While ascending steps of the building, Peart admitted that he saw a rioter attempting to lift

a large two-by-four foot wooden board. ECF 32 ¶ 24. Peart assisted the rioter lift the wood before

continuing to walk in the direction of the Capitol’s entrance. Id. Peart later claimed he did not

know what the rioter did with the large piece of wood.

       Exterior surveillance cameras captured Peart standing outside of the Capitol. See Image

B.




                                                 Image B

       Upon arriving near the exterior doors of the northwest side of the building, Peart smelled

the tear gas used by police officers to attempt to disperse the mob of rioters. Overwhelmed by the

smell of the tear gas, Peart placed a surgical mask on his face.

       Peart observed numerous police officers attempting to use spray tear gas in the direction of

the rioters. Eventually, unable to control the growing crowd, officers began to retreat. Peart saw

rioters who had grabbed the tear gas cannister spraying the officers with gas. Peart claimed he did

not participate in the assault of the officers and attempted to remove bottles of pepper spray so

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they would not fall into the possession of the rioters. Nevertheless, he continued to make his way

into the Capitol.

       Peart observed a line of police officers attempting to stop a mob of rioters attempting to

enter the northwest side of the Capitol. The crowd, chanting and yelling outside of the building,

was overtaking the line of officers. From Peart’s location, he could clearly see officers being

overwhelmed. Peart also observed damage done to doors and windows to the Capitol. Ignoring

all that he saw and heard, including alarms blaring from inside the Capitol, Peart stood close behind

the crowd of rioters attempting to enter the Capitol. Eventually the police line was breached. The

mob of rioters flooded into the northwest side of the Capitol, accessing the building through the

broken door and windows. See Images C and D.




                                                 Image C




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                                            Image D

       Closed Circuit Video (CCV) cameras captured Peart entering the Capitol. CCV cameras

recorded Peart as he made his way through the building. Peart entered the Capitol near the Senate

Wing Door, approximately ninety seconds after rioters forced their way through the northwest

entrance. See Images E and F.




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                           Image E




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                                            Image F

       Upon entering the Capitol, Peart joined in the chorus of rioters as they chanted “Whose

house? Our house!” ECF 32 ¶ 17. Peart observed a nearby broken piece of furniture. Id. Peart

added to the commotion by banging on the broken item while continuing to chant. Id. Peart

paraded inside of the Capitol while in possession of the flag. Id. Peart entered the Rotunda where

he observed numerous police officers. While inside the Rotunda, Peart continued to chant. Id. At

some point, Peart chanted loudly, “Where are the senators?” Id. Peart specifically called out the

name of U.S. Senator Mitt Romney. Id.

       While inside, Peart walked between the Senate Chamber and Statuary Hall, making his

way from the Senate side of the Capitol Building to the House side, eventually arriving at the

House Wing Door. ECF 32 ¶ 18. By this point, Peart had removed his jacket and hat. See Image

G.




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                                            Image G

       Upon reaching the Hall of Columns, Peart observed United States Capitol police officers

and FBI SWAT agents standing in the hallway. Id. See Image H. Peart continued to chant with

rioters who were also parading through the hallway. While chanting, a Capitol police officer asked

Peart to leave. Id. Peart refused. Id.




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                                              Image H

       An officer asked Peart a second time to leave the Capitol. The officer guided Peart near

the direction of the nearby exit by following closely behind Peart. Peart began to walk towards

the exit, but not before stating, “I want to go back.” Id. For a third time, Peart was told that he

needed to exit the building. Id. The officer continued to follow closely behind Peart as the officer

walked Peart closer to the exit. Id. See Image I.




                                                    11
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                                     Image I

Peart finally complied and exited the Capitol. Id. See Images J and K.




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                                             Image J




                                            Image K

       Peart was inside of the Capitol for approximately thirty minutes. After leaving the Capitol,

Peart reconnected with his friends, then returned to his hotel room. Peart flew back to Utah on

January 7, 2021.



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                                        Social Media Posts

       In the aftermath of January 6, the FBI obtained social media records from Peart’s Facebook

account with the handle name “Jake Peart.” ECF 32 ¶ 56. On January 6, Peart shared the selfie

photograph (Image A) that he took while standing outside of the Capitol. Peart did not post any

additional pictures to social media or post any commentary about January 6. Peart shut down his

Facebook page on January 20, 2021 after meeting with FBI agents. Id. The FBI was able to review

his Facebook page before Peart shut it down. While Peart had additional social media accounts, a

public search of the accounts did not reflect any postings related to January 6 by Peart after January

6. Id. Additionally, Peart did not post any content prior to January 6 related to that day. Id. Peart

cooperated with the FBI by providing agents with all of his social media accounts during his

January 20, 2021 voluntary interview. Id.

                                         Peart’s Interview

       After returning to Utah, Peart grew increasingly concerned about his unlawful entry inside

of the Capitol. Peart’s counsel contacted the local FBI field office and informed agents that Peart

wanted to self-surrender and admit that he had entered the Capitol on January 6. On January 20,

2021, agents met with Peart at the local FBI field office with his counsel. Peart admitted entering

the Capitol and provided the agents with a detailed itinerary beginning with his travel to

Washington, D.C. from Utah to attend the Trump rally and his attendance at the rally. Peart

admitted he knew about the breach of the Capitol prior to going to the Capitol. Peart described his

actions upon arriving at the Capitol. He admitted that he saw rioters using tear gas against the

police. He detailed seeing numerous police lines overwhelmed and broken by rioters attempting

to enter the Capitol. He admitted seeing numerous broken windows and doors of the Capitol. And

that he helped another rioter pick up a two-by-four foot wooden board.. He also admitted seeing



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the broken piece of furniture inside of the Capitol and banging on that item when he entered the

building. Peart also detailed his entry inside of the Capitol, beginning with him climbing

scaffolding and chanting inside the Capitol. Peart admitted to yelling out Senator Romney’s name

while asking where the U.S. senators were located. When asked if he went inside of the Capitol

with the intent to harm politicians, Peart stated: “I don’t know what would have happened if I had

seen Mitt Romney. It’s probably a good thing that I didn’t see him, because I would have been,

who knows, I was definitely, um ya know, there. I’ve never had that much adrenaline run through

my body ever, um so I don’t know, …” and “I’m glad it ended the way it ended.”

       Peart expressed regret for his conduct on January 6 and agreed to meet with agents after

their initial meeting if agents had additional questions.

       After interviewing Peart, agents reviewed surveillance footage from January 6 and

confirmed that Peart did indeed enter the Capitol on January 6. Additionally, based on Peart’s

detailed information, agents were able to confirm that Peart provided credible information

regarding his conduct and whereabouts inside of the Capitol.

       In his February 7, 2022, interview with the U.S. Probation Office, Peart again expressed

his remorse by stating that he should not have gone inside of the Capitol. Peart reiterated that he

turned himself into FBI because he expected to be held accountable for his actions.

                                 The Charges and Plea Agreement

       On November 9, 2021, Peart was charged in a one-count Information with violating 40

U.S.C. § 5104(e)(2)(G), Parading, Demonstrating, or Picketing in a Capitol Building. On January

12, 2022, Peart pled guilty to the Information. By plea agreement, Peart agreed to pay $500 in

restitution to the Department of the Treasury.




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   III.      Statutory Penalties

          Peart now faces a sentencing on a single count of violating 40 U.S.C. § 5104(e)(2)(G). As

noted by the plea agreement and the U.S. Probation Office, Peart faces up to six months of

imprisonment and a fine of up to $5,000. Peart must also pay restitution under the terms of his plea

agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C.

Cir. 2008). As this offense is a Class B Misdemeanor, the Sentencing Guidelines do not apply to

it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

   IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the

nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the

defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence,

§ 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors weigh in favor of incarceration.

          In this case, as described below, the Section 3553(a) factors weigh in favor of a period of

incarceration, as opposed to a sentence of probation.

          A. The Nature and Circumstances of the Offense

          The attack on the Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was the one of

the only times in our history when the building was literally occupied by hostile participants. By

its very nature, the attack defies comparison to other events.



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       While each defendant should be sentenced based on their individual conduct, this Court

should note that each person who entered the Capitol on January 6 without authorization did so

under the most extreme of circumstances. As they entered the Capitol, they would—at a

minimum—have crossed through numerous barriers and barricades and heard the throes of a mob.

Depending on the timing and location of their approach, they also may have observed extensive

fighting with police officers and smelled chemical irritants in the air. No rioter was a mere tourist

that day.

       Additionally, while assessing Peart’s individual conduct and determining a fair and just

sentence, this Court should address a spectrum of critical aggravating and mitigating factors, to

include: (1) whether, when, how the defendant entered the Capitol building; (2) whether the

defendant encouraged violence; (3) whether the defendant encouraged property destruction; (4)

the defendant’s reaction to acts of violence or destruction; (5) whether during or after the riot, the

defendant destroyed evidence; (6) the length of the defendant’s time inside of the building, and

exactly where the defendant traveled; (7) the defendant’s statements in person or on social media;

(8) whether the defendant cooperated with, or ignored commands from police; and (9) whether the

defendant demonstrated sincere remorse or contrition. While these factors are not exhaustive nor

dispositive, they help to place each defendant on a spectrum as to their fair and just punishment.

       To be clear, had Peart personally engaged in violence or destruction, he would be facing

additional charges and/or penalties associated with that conduct. That Peart did not engage in

violent or destructive acts is therefore not a mitigating factor in misdemeanor cases, nor does it

meaningfully distinguish Peart from most other misdemeanor defendants.

       Prior to arriving at the Capitol, Peart knew that the Capitol has been breached and that

protestors had unlawfully entered the building. Despite having this information, Peart changed



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course and decided to go in the direction of the chaos and the mayhem, and ultimately a dangerous

situation that would overwhelm and endanger police and result in destruction and damage to the

Capitol building.

       Upon arriving at the Capitol, Peart arrived on the west side of the Capitol where a large

number of protestors were concentrated. Peart would have observed not only a large crowd of

rioters but barricades signaling to those rioters that they were prohibited from unlawfully entering

the Capitol, which was closed to the public on January 6. Peart disregarded these observations

and made his way to the Capitol building, urinating on the exterior building prior to climbing a

nearby wall and scaffolding to make his way up to the Capitol Building.

       While Peart did not personally engage in the physical assault of police on January 6, he

certainly observed assaults on police and continued forward. Peart admitted seeing rioters

spraying police officers after they captured the gas cannisters. Peart observed a bag containing

two cannisters of pepper spray. Observing police using pepper spray against the rioters and then

seeing rioters turn the tables and spraying officers should have further signaled to Peart that his

entry into the Capitol would only frustrate the efforts to prevent the breach of the Capitol.

Nevertheless, Peart continued to press forward into the building.

       Peart’s entry into the Capitol occurred shortly after a breach of the police line located at

the northwest entrance near the Senate Chamber. Peart would have observed the burgeoning

crowd of rioters pressing against the line minutes before the breach. Peart also admitted that he

helped another rioter pick up a two-by-four foot wooden board. Yet, he remained focused on his

intention to enter the building while rioters pushed their way into the Capitol by overriding the

police line, bursting through the doorway and nearby windows.




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       After entering the Capitol, Peart exclaimed and celebrated his entry into the building by

chanting phrases such as “Whose house? Our house!” Peart observed a piece of broken furniture

and began to pound on it while chanting. And while the government has no evidence that Peart

destroyed any property inside of the building, he admittedly saw the damage caused by others. As

Peart continued to make his way on the building’s first floor, he joined in with the crowd as they

yelled and called for the whereabouts of U.S. senators. Peart, a resident of Utah, called out for the

presence of Utah Senator Mitt Romney. In his statement to FBI, Peart provided a concerning

statement about whether he would have harmed Senator Romney if he had witnessed his presence

inside of the building.

       Peart defiantly left the Capitol only after traveling from the Senate side to the House side

and encountering police officers.. Only after being instructed three times by an officer that he

needed to leave did Peart do so. Peart exchanged words with the officer and was eventually led

out of the Capitol by the officer, who took Peart by the arm and led him towards the Capitol’s exit.

        Nor did Peart initially appreciate the gravity of his conduct. After leaving the Capitol,

Peart posted a picture of himself standing outside of the Capitol to his personal Facebook account.

       Peart has since expressed remorse and contrition for his actions on January 6. Fourteen

days after the riot, Peart removed his Facebook post and turned himself into the FBI. Peart had

not been identified by law enforcement officials at that time. As such, he notably and voluntarily

admitted his conduct without law enforcement intervention. During his interview, Peart was fully

cooperative as demonstrated by him detailing his actions on January 6. Peart has also expressed

concern for how his actions affected individuals who worked inside the Capitol on January 6. The

government has taken that into account in formulating its sentencing recommendation in this case.




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Based on the totality of Peart’s conduct on January 6, and his expression of remorse, the nature

and the circumstances of this offense establish the need for a brief sentence of incarceration in this

matter.

          B.     Peart’s History and Characteristics

          Peart, a married father of five, resides in Utah with his family and works as a real estate

agent/broker and entrepreneur. ECF 32 ¶ ¶ 50, 61-63. Peart does not have an adult criminal

history. ECF 32 ¶ 39.

          Peart has a limited social media presence. ECF 32 ¶ 56. On January 6, Peart had multiple

social media accounts, including one on Facebook. Id. Peart posted only one picture of himself to

his Facebook account after he left the Capitol. Peart closed his social media accounts after meeting

with FBI agents, but voluntarily provided information about his social media accounts therefore

allowing FBI to review his accounts and confirm that Peart did not post any January 6 related

postings prior to or after (albeit the one posting previously mentioned) January 6. Id.

          As it relates to his conduct since January 6 while on pretrial release, Peart has been

compliant with the terms of his release. ECF 32 ¶ 7.

          C.     The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
                 and Promote Respect for the Law

          The attack on the Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the Capitol on January 6 showed a blatant and appalling

disregard for our institutions of government and the orderly administration of the democratic

process.” 2 As with the nature and circumstances of the offense, this factor supports a sentence of



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 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee       (June     15,     2021),   available            at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
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incarceration, as it will in most cases, including misdemeanor cases, arising out of the January 6

riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21 at 3 (“As

to probation, I don't think anyone should start off in these cases with any presumption of probation.

I think the presumption should be that these offenses were an attack on our democracy and that

jail time is usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. For the violence at the Capitol on January

6 was cultivated to interfere, and did interfere, with one of the most important democratic processes

we have: the peaceful transfer of power to a newly elected President. As noted by Judge Moss

during sentencing in United States v. Paul Hodgkins, 21-cr-188-RDM:

         [D]emocracy requires the cooperation of the governed. When a mob is prepared to
         attack the Capitol to prevent our elected officials from both parties from performing
         their constitutional and statutory duty, democracy is in trouble. The damage that
         [the defendant] and others caused that day goes way beyond the several-hour delay
         in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.




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It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70.

       The gravity of these offenses demands deterrence. This was not a protest. See United States

v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can be

made defending what happened in the Capitol on January 6th as the exercise of First Amendment

rights.”) (statement of Judge Moss). And it is important to convey to future potential rioters—

especially those who intend to improperly influence the democratic process—that their actions

will have consequences. There is possibly no greater factor that this Court must consider.

       Specific Deterrence

       Peart appears to acknowledge the full scope of his conduct. Additionally, Peart’s limited

conduct on social media after January 6 supports the government’s belief that Peart understands

the seriousness of his conduct.

       E.      The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on police officers, to conspiracy to corruptly interfere with Congress. 3 Each

offender must be sentenced based on their individual circumstances, but with the backdrop of the

January 6 riot in mind. Moreover, each offender’s case will exist on a spectrum that ranges from

conduct meriting a probationary sentence to crimes necessitating years of imprisonment. The

misdemeanor defendants will generally fall on the lower end of that spectrum, but misdemeanor

breaches of the Capitol on January 6, 2021 were not minor crimes. A probationary sentence should


3
   Attached to this supplemental sentencing memorandum is a table providing additional
information about the sentences imposed on other Capitol breach defendants. That table also
shows that the requested sentence here would not result in unwarranted sentencing disparities.

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not become the default. 4 See United States v. Anna Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr.

6/23/2021 at 19 (Indeed, the government invites the Court to join Judge Lamberth’s admonition

that “I don’t want to create the impression that probation is the automatic outcome here because

it’s not going to be.”) (statement of Judge Lamberth).

       Peart has pleaded guilty to a one count Information charging him with Parading,

Demonstrating, or Picketing in a Capitol Building, a violation of 40 U.S.C. § 5104(e)(2)(G). This

offense is a Class B misdemeanor. 18 U.S.C. § 3559. Certain Class B and C misdemeanors and

infractions are “petty offenses,” 18 U.S.C. § 19, to which the Sentencing Guidelines do not apply,

U.S.S.G. 1B1.9. The sentencing factors set forth in 18 U.S.C. § 3553(a), including “the need to

avoid unwarranted sentence disparities among defendants with similar records who have been

found guilty of similar conduct,” 18 U.S.C.A. § 3553(6), do apply, however.

       For one thing, although all the other defendants discussed below participated in the Capitol

breach on January 6, 2021, many salient differences—such as how a defendant entered the Capitol,

how long he remained inside, the nature of any statements he made (on social media or otherwise),

whether he destroyed evidence of his participation in the breach, etc.—help explain the differing

recommendations and sentences.       And as that discussion illustrates, avoiding unwarranted



4
   Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation in United States v. Anna
Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-00097(PFF);
United States v. Donna Sue Bissey, 1:21-cr-00165(TSC), United States v. Douglas K. Wangler,
1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF). The
government is abiding by its agreements in those cases, but has made no such agreement in this
case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted
sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a
“fast-track” program and those who do not given the “benefits gained by the government when
defendants plead guilty early in criminal proceedings”) (citation omitted).


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disparities requires the courts to consider not only a defendant’s “records” and “conduct” but other

relevant sentencing criteria, such as a defendant’s expression of remorse or cooperation with law

enforcement.    See United States v. Hemphill, 514 F.3d 1350, 1365 (D.C. Cir. 2008) (no

unwarranted disparity regarding lower sentence of codefendant who, unlike defendant, pleaded

guilty and cooperated with the government).

       Even in Guidelines cases, sentencing courts are permitted to consider sentences imposed

on co-defendants in assessing disparity. E.g., United States v. Knight, 824 F.3d 1105, 1111 (D.C.

Cir. 2016); United States v. Mejia, 597 F.3d 1329, 1343-44 (D.C. Cir. 2010); United States v. Bras,

483 F.3d 103, 114 (D.C. Cir. 2007). The Capitol breach was sui generis: a mass crime with

significant distinguishing features, including the historic assault on the seat of legislative branch

of federal government, the vast size of the mob, the goal of impeding if not preventing the peaceful

transfer of Presidential power, the use of violence by a substantial number of rioters against police

officers. Thus, even though many of the defendants were not charged as conspirators or as

codefendants, the sentences handed down for Capitol breach offenses is an appropriate group for

purposes of measuring disparity of any future sentence.

       While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, the Court may consider the sentences imposed in other riot cases

when fashioning a sentence in this case. In United States v. Robert Bauer, 21-cr-049-TSC, two

days after his unlawful entry inside of the Capitol, Bauer voluntarily spoke with two FBI agents.

During the interview, Bauer said that as he walked up to the Capitol building from Pennsylvania

Avenue, he saw bicycle racks turned upside down and “there were people hanging off the

scaffolding already.” Despite the obvious chaos and rioting, Bauer made his way to the Capitol.

Prior to entering, Bauer saw police officers armed with weapons. Bauer observed rioters throwing



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objects at the officers. Bauer yelled at the rioters, telling them to stop throwing objects at the

officers. Despite seeing the assault of officers, which also included seeing officers be sprayed with

pepper spray by the rioters, Bauer went into the Capitol, entering at the northwest side of the

building, in a doorway near the Senate Wing Door. While inside, Bauer walked around, going

into the Crypt. Bauer chanted inside, “Stop the Steal,” alongside the crowd of rioters. Bauer was

inside of the Capitol for approximately 17 minutes. The Court sentenced Bauer to a period of

incarceration of 45 days of incarceration.

       Bauer and Peart accepted responsibility early on, avoiding an extended prosecution and

admitting their guilt early. Both entered the Capitol through the Senate Wing Door following the

breach of the police officer line. Like Bauer, Peart observed the physical damage that occurred at

the northwest side of the building. Both observed assaultive conduct directed towards police

officers, specifically, both observed officers being sprayed by pepper spray. Unlike Bauer, Peart

does not have an adult criminal history. In Bauer, the Court did consider the fact the Bauer had

an extensive adult criminal history.

       While there are a number of aggravating factors for this Court to consider in addition to

the aforementioned factor of Peart witnessing violence towards police officers, another significant

factor that this Court should give significant weight too is the fact that Peart disregarded police

orders in failing to leave the Capitol when initially asked. In similar cases where rioters refused

to heed to requests that they leave the Capitol, Court have imposed sentences of incarceration.

E.g., United States v. Bradley Rukstales, 5:21-cr-00041(CJN); United States v. William Tryon,

1:21-cr-00420 (RBW); United States v. Robert Reeder, 1:21-cr-166 (TFH); United States v. Joshua

Wagner, 1:21-cr-310-1 (ABJ); and United States v. Jeffrey Register, 1:21-cr-00349 (TJK).




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         United States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine

Ehrke, 1:21-cr-00097(PFF); United States v. Donna Sue Bissey, 1:21-cr-00165(TSC), United

States v. Douglas K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-

cr-00365(DLF)

         In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

    V.      The Court’s Lawful Authority to Impose a Split Sentence

         A sentencing court may impose a “split sentence”—“a period of incarceration followed by

period of probation,” Foster v. Wainwright, 820 F. Supp. 2d 36, 37 n.2 (D.D.C. 2011) (citation

omitted)—for a defendant convicted of a federal petty offense. See 18 U.S.C. § 3561(a)(3); see

United States v. Little, 21-cr-315 (RCL), 2022 WL 768685, at *1 (D.D.C. Mar. 14, 2022)

(concluding that “ a split sentence is permissible under law and warranted by the circumstances of

this case); United States v. Smith, 21-cr-290 (RBW), ECF 43 (D.D.C. Mar. 15, 2022) (imposing a

split sentence).



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       A. A sentence imposed for a petty offense may include both incarceration and
          probation.

           1. Relevant Background

       In 1984, Congress enacted the Sentencing Reform Act, which in substantial part remains

the sentencing regime that exists today. See Pub. L. No. 98–473, §§211-212, 98 Stat 1837 (1984),

codified at 18 U.S.C. § 3551 et seq.; see Mistretta v. United States, 488 U.S. 361, 365-66 (1989)

(noting that the Sentencing Reform Act of 1984 wrought “sweeping changes” to federal criminal

sentencing). That legislation falls in Chapter 227 of Title 18, which covers “Sentences.” Chapter

227, in turn, consists of subchapter A (“General Provisions”), subchapter B (“Probation”),

subchapter C (“Fines”), and subchapter D (“Imprisonment).             Two provisions—one from

subchapter A and one from subchapter B—are relevant to the question of whether a sentencing

court may impose a term of continuous incarceration that exceeds two weeks 5 followed by a term

of probation.

       First, in subchapter A, 18 U.S.C. § 3551 sets out “[a]uthorized sentences.” Section 3551(a)

makes clear that a “defendant who has been found guilty of” any federal offense “shall be

sentenced in accordance with the provisions of” Chapter 227 “[e]xcept as otherwise specifically

provided.” 18 U.S.C. § 3551(a). Section 3551(b) provides that a federal defendant shall be

sentenced to “(1) a term of probation as authorized by subchapter B; (2) a fine as authorized by

subchapter C; or (3) a term of imprisonment as authorized by subchapter D.” 18 U.S.C. § 3551(b). 6

As a general matter, therefore, “a judge must sentence a federal offender to either a fine, a term of

probation, or a term of imprisonment.” United States v. Kopp, 922 F.3d 337, 340 (7th Cir. 2019).


5
 A period of incarceration that does not exceed two weeks followed by a term of probation is also
permissible under 18 U.S.C. § 3653(b)(10). See Part II infra.
6
 Section 3551(b) further provides that a sentencing judge may impose a fine “in addition to any
other sentence.” 18 U.S.C. § 3551(b).

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       Second, 18 U.S.C. § 3561, the first provision in subchapter B, addresses a “[s]entence of

probation.” As initially enacted, Section 3561 provided that a federal defendant may be sentenced

to a term of probation “unless . . . (1) the offense is a Class A or Class B felony and the defendant

is an individual; (2) the offense is an offense for which probation has been expressly precluded; or

(3) the defendant is sentenced at the same time to a term of imprisonment for the same or a different

offense.” Pub. L. No. 98-473, at § 212; see United States v. Anderson, 787 F. Supp. 537, 539 (D.

Md. 1992) (noting that the Sentencing Reform Act did not permit “a period of ‘straight’

imprisonment . . . at the same time as a sentence of probation”).

       Congress, however, subsequently amended Section 3561(a)(3).              In 1991, Congress

considered adding the following sentence to the end of Section 3561(a)(3): “However, this

paragraph does not preclude the imposition of a sentence to a term of probation for a petty offense

if the defendant has been sentenced to a term of imprisonment at the same time for another such

offense.” H.R. Rep. 102-405, at 167 (1991). Instead, three years later Congress revised Section

3561(a)(3) by appending the phrase “that is not a petty offense” to the end of the then-existing

language. See H.R. Rep. No. 103-711, at 887 (1994) (Conference Report). In its current form,

therefore, Section 3561(a)(3) provides that a defendant “may be sentenced to a term of probation

unless . . . the defendant is sentenced at the same time to a term of imprisonment for the same or a

different offense that is not a petty offense.” 18 U.S.C. § 3561(a)(3).

           2. Analysis

       Before Congress passed the Sentencing Reform Act of 1984, sentencing courts could

impose a split sentence on a federal defendant in certain cases. See United States v. Cohen, 617

F.2d 56, 59 (4th Cir. 1980) (noting that a sentencing statute enacted in 1958 had as its “primary

purpose . . . to enable a judge to impose a short sentence, not exceeding sixth months, followed by



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probation on a one count indictment”); see also United States v. Entrekin, 675 F.2d 759, 760-61

(5th Cir. 1982) (affirming a split sentence of six months’ incarceration followed by three years of

probation). In passing the Sentencing Reform Act, Congress sought generally to abolish the

practice of splitting a sentence between imprisonment and probation because “the same result”

could be accomplished through a “more direct and logically consistent route,” namely the use of

supervised release as set out in 18 U.S.C. §§ 3581 and 3583. S. Rep. No. 225, 1983 WL 25404,

at *89; accord United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) § 5B1.1,

Background. But Congress’s 1994 amendment to Section 3561(a)(3) reinstated a sentencing

court’s authority to impose a split sentence for a petty offense.

       Under 18 U.S.C. § 3561, a defendant “may be sentenced to a term of probation unless . . .

the defendant is sentenced at the same time to a term of imprisonment for the same or a different

offense that is not a petty offense.” 18 U.S.C. § 3561(a)(3). Thus, for any federal offense other

than a petty offense, Section 3561(a)(3) prohibits “imposition of both probation and straight

imprisonment,” consistent with the general rule in Section 3551(b). United States v. Forbes, 172

F.3d 675, 676 (9th Cir. 1999); see United States v. Martin, 363 F.3d 25, 31 (1st Cir. 2004); United

States v. Harris, 611 F. App’x 480, 481 (9th Cir. 2015); Anderson, 787 F. Supp. at 539.

       But the statutory text of 18 U.S.C. § 3561(a)(3) goes further by permitting a court to

sentence a defendant to a term of probation “unless” that defendant “is sentenced at the same time

to a term of imprisonment for the same or a different offense that is not a petty offense.” 18 U.S.C.

§ 3561(a)(3). Section 3561 “begins with a grant of authority”—permitting a court to impose

probation—followed by a limitation in the words following “unless.” Little, 2022 WL 768685, at

*4. But that limitation “does not extend” to a defendant sentenced to a petty offense. See id.




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(“[W]hile a defendant’s sentence of a term of imprisonment may affect a court's ability to impose

probation, the petty-offense clause limits this exception.”).

       It follows that when a defendant is sentenced for a petty offense, that defendant may be

sentenced to a period of continuous incarceration and a term of probation. See United States v.

Posley, 351 F. App’x 807, 809 (4th Cir. 2009) (per curiam). In Posley, the defendant, convicted

of a petty offense, was sentenced to two years of probation with the first six months in prison. Id.

at 808.    In affirming that sentence, the Fourth Circuit concluded that Section 3561(a)(3)

“[u]nquestionably” provided statutory authority to sentence the petty-offense defendant to “a term

of six months of continuous imprisonment plus probation.” Id. at 809; see Cyclopedia of Federal

Procedure, § 50:203, Capacity of court to impose probationary sentence on defendant in

conjunction with other sentence that imposes term of imprisonment (3d ed. 2021) (“[W]here the

defendant is being sentenced for a petty offense, a trial court may properly sentence such individual

to a term of continuous imprisonment for a period of time, as well as a sentence of probation.”)

(citing Posley); see also Wright and Miller, Federal Practice and Procedure, § 547, at n.13 (4th

ed. 2021) (“A defendant may be sentenced to probation unless he . . . is sentenced at the same time

to imprisonment for an offense that is not petty.”) (emphasis added).

       Nor does the phrase “that is not a petty offense” in Section 3561(a)(3) modify only

“different offense.” See Little, 2022 WL 768685, at *5-*6 (concluding that “same” in Section

3561(a)(3) functions as an adjective that modifies “offense”). Section 3561(a)(3) does not state

“the same offense or a different offense that is not a petty offense,” which would imply that the

final modifier—i.e., “that is not a petty offense”—applies only to “different offense.” The phrase

“that is not a petty offense” is a postpositive modifier best read to apply to the entire, integrated

phrase “the same or a different offense.” See Antonin Scalia & Bryan A. Garner, Reading Law:



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The Interpretation of Legal Texts 148 (2012). Had Congress sought to apply the phrase “not a

petty offense” solely to “different offense,” the “typical way in which syntax would suggest no

carryover modification” would be some language that “cut[s] off the modifying phrase so its

backward reach is limited.” Id. at 148-49. And while the indefinite article “a” might play that

role in other contexts (e.g., “either a pastry or cake with icing” vs. “either a pastry or a cake with

icing”), the indefinite article in Section 3561(a)(3) merely reflects the fact that the definite article

before “same” could not naturally apply to the undefined “different offense.” See Little, 2022 WL

768685, at *6 (identifying other statutes and “legal contexts” with the identical phrase that carry

the same interpretation).

        Permitting a combined sentence of continuous incarceration and probation for petty

offenses is sensible because sentencing courts cannot impose supervised release on petty-offense

defendants. See 18 U.S.C. § 3583(b)(3); United States v. Jourdain, 26 F.3d 127, 1994 WL 209914,

at *1 (8th Cir. 1994) (unpublished) (plain error to impose a term of supervised release for a petty

offense). When Congress in 1994 amended the language in Section 3561(a), it again provided

sentencing courts with “latitude,” see S. Rep. 98-225, 1983 WL 25404, at *89, to ensure some

degree of supervision—through probation—following incarceration.

        Section 3551(b)’s general rule that a sentencing court may impose either imprisonment or

probation (but not both) does not preclude a sentencing court from imposing a split sentence under

Section 3561(a)(3) for a petty offense for two related reasons.

        First, the more specific permission for split sentences in petty offense cases in Section

3561(a)(3) prevails over the general prohibition on split sentences in Section 3551(b). See Morton

v. Mancari, 417 U.S. 535, 550-51 (1974) (“Where there is no clear intention otherwise, a specific

statute will not be controlled or nullified by a general one.”). As noted above, when Congress



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enacted the general prohibition on split sentences in Section 3551(b), it had not yet enacted the

more specific carveout for split sentences in petty offense cases in Section 3561(a)(3). That

carveout does not “void” the general prohibition on split sentences in Section 3551(b); rather,

Section 3551(b)’s general prohibition’s “application to cases covered by the specific provision [in

Section 3651(a)(3)] is suspended” as to petty offense cases. Scalia & Garner, supra, at 184. In

other words, Section 3551(b)’s prohibition against split sentences “govern[s] all other cases” apart

from a case involving a petty offense. Id. This interpretation, moreover, “ensures that all of

Congress’s goals set forth in the text are implemented.” Little, 2022 WL 768685, at *8.

       Second, to the extent Section 3551(b)’s general prohibition against split sentences conflicts

with Section 3561(a)(3)’s permission for split sentences in petty offense cases, the latter, later-

enacted provision controls. See Posadas v. Nat’l Bank of N.Y., 296 U.S. 497, 503 (1936) (“Where

provisions in the two acts are in irreconcilable conflict, the later act to the extent of the conflict

constitutes an implied repeal of the earlier one.”); Scalia & Garner, supra, at 327-329. Where a

conflict exists “between a general provision and a specific one, whichever was enacted later might

be thought to prevail.” Id. at 185. “The “specific provision”—here Section 3561(a)(3)—“does

not negate the general one entirely, but only in its application to the situation that the specific

provision covers.” Id. Section 3551(b)’s general prohibition does not operate against the more

specific, later-enacted carveout for split sentences in Section 3561(a)(3).

       An interpretation of Sections 3551(b) and 3561(a) that a sentencing court “must choose

between probation and imprisonment when imposing a sentence for a petty offense,” United States

v. Spencer, No. 21-cr-147 (CKK), Doc. 70, at 5 (Jan. 19, 2022), fails to accord the phrase “that is

not a petty offense” in Section 3561(a)(3) any meaning. When Congress in 1994 amended Section

3561(a)(3) to include that phrase, it specifically permitted a sentencing court in a petty offense



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case to deviate from the otherwise applicable general prohibition on combining continuous

incarceration and probation in a single sentence.       Ignoring that amended language would

improperly fail to “give effect to every clause and word” of Section 3561(a)(3). Marx v. Gen.

Revenue Corp., 568 U.S. 371, 385 (2013).

       Congress’s unenacted language from 1991 does not suggest that a split sentence is available

only where a defendant is sentenced at the same time for two different petty offenses or for two

offenses, at least one of which is a petty offense. For one thing, the Supreme Court has regularly

rejected arguments based on unenacted legislation given the difficulty of determining whether a

prior bill prompted objections because it went too far or not far enough. See Mead Corp. v. Tilley,

490 U.S. 714, 723 (1989) (“We do not attach decisive significance to the unexplained

disappearance of one word from an unenacted bill because ‘mute intermediate legislative

maneuvers’ are not reliable indicators of congressional intent.”) (citation omitted). Moreover,

under that view, every offense other than a petty offense could include some period of

incarceration and some period of supervision (whether that supervision is supervised release or

probation). Yet so long as a defendant was convicted of two petty offenses, that defendant could

be sentenced to incarceration and supervision (in the form of probation). No sensible penal

policy supports that interpretation.

       It follows that a sentencing court may impose a combined sentence of incarceration and

probation where, as here, the defendant is convicted of a petty offense. Peart pleaded guilty to

one count of 40 U.S.C. § 5104(e)(2)(G): Parading, Demonstrating, or Picketing in the Capitol

Building, which is a “petty offense” that carries a maximum penalty that does not exceed six

months in prison and a $5,000 fine. See 18 U.S.C. § 19; see United States v. Soderna, 82 F.3d




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1370, 1381 n.2 (7th Cir. 1996) (Kanne, J., concurring) (citations omitted) (noting that a petty

offender may face a sentence of up to five years in probation).

       B. A sentence of probation may include incarceration as a condition of probation,
          though logistical and practical reasons may militate against such a sentence
          during an ongoing pandemic.

           1. Relevant background

       In 18 U.S.C. § 3563, Congress set out “[c]onditions of probation.” 18 U.S.C. § 3563.

Among the discretionary conditions of probation a sentencing court may impose is a requirement

that a defendant

           remain in the custody of the Bureau of Prisons during nights, weekends or other
           intervals of time, totaling no more than the lesser of one year or the term of
           imprisonment authorized for the offense, during the first year of the term of
           probation or supervised release.

18 U.S.C. § 3563(b)(10). Congress enacted this provision to give sentencing courts “flexibility”

to impose incarceration as a condition of probation in one of two ways. S. Rep. No. 225, 1983

WL 25404, at *98. First, a court can direct that a defendant be confined in “split intervals” over

weekends or at night. Id. Second, a sentencing court can impose “a brief period of confinement”

such as “for a week or two.” Id. 7

       A. Analysis

       A sentencing court may impose one or more intervals of imprisonment up to a year (or the

statutory maximum) as a condition of probation, so long as the imprisonment occurs during

“nights, weekends or other intervals of time.” 18 U.S.C. § 3653(b)(10). Although the statute does

not define an “interval of time,” limited case law suggests that it should amount to a “brief period”


7
  Section 3563(b)(10)’s legislative history notes that imprisonment as a term of probation was “not
intended to carry forward the split sentence provided in Section 3561, by which the judge imposes
a sentence of a few months in prison followed by probation.” S. Rep. No. 225, 1983 WL 25404,
at *98.

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of no more than a “week or two” at a time. United States v. Mize, No. 97-40059, 1998 WL 160862,

at *2 (D. Kan. Mar. 18, 1998) (quoting Section 3563(b)(10)’s legislative history described above

and reversing magistrate’s sentence that included 30-day period of confinement as a condition of

probation); accord United States v. Baca, No. 11-1, 2011 WL 1045104, at *2 (C.D. Cal. Mar. 18,

2011) (concluding that two 45-day periods of continuous incarceration as a condition of probation

was inconsistent with Section 3563(b)(10)); see also Anderson, 787 F. Supp. at 538 (continuous

60-day incarceration not appropriate as a condition of probation); Forbes, 172 F.3d at 676 (“[S]ix

months is not the intermittent incarceration that this statute permits.”). Accordingly, a sentence of

up to two weeks’ imprisonment served in one continuous term followed by a period of probation

is permissible under Section 3563(b)(10). 8

       A sentencing court may also impose “intermittent” confinement as a condition of probation

to be served in multiple intervals during a defendant’s first year on probation. 18 U.S.C.

§ 3563(b)(10); see Anderson, 787 F. Supp. at 539. Notwithstanding a sentencing court’s legal

authority to impose intermittent confinement in this manner, the government has refrained from

requesting such a sentence in Capitol breach cases given the potential practical and logistical

concerns involved when an individual repeatedly enters and leaves a detention facility during an

ongoing global pandemic. Those concerns would diminish if conditions improve or if a given

facility is able to accommodate multiple entries and exits without unnecessary risk of exposure.

In any event, the government does not advocate a sentence that includes imprisonment as a term

of probation in Peart’s case given the requested 30-day imprisonment sentence.




8
  Section 3563(b)(10)’s use of the plural to refer to “nights, weekends, or intervals of time” does
not imply that a defendant must serve multiple stints in prison. Just as “words importing the
singular include and apply to several persons, parties, or things,” “words importing the plural
include the singular.” 1 U.S.C. § 1; see Scalia & Garner, supra, at 129-31.
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   VI.      Conclusion

         Sentencing requires the Court to carefully balance the § 3553(a) factors. As explained

herein, some of those factors support a sentence of incarceration and some support a more lenient

sentence. Balancing these factors, the government recommends that this Court sentence Willard

Jake Peart to thirty days incarceration, 36 months’ probation, 60 hours of community service, and

$500 restitution. Such a sentence protects the community, promotes respect for the law, and deters

future crime by imposing restrictions on his liberty as a consequence of his behavior, while

recognizing his early acceptance of responsibility.

                                             Respectfully submitted,

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